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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig            *
“Deepwater Horizon” in the Gulf                    MDL 2179
of Mexico, on April 20, 2010               *
                                                   SECTION: J(2)
This Document Relates To:                  *
                                                   JUDGE BARBIER
All Cases in the “B1” and “B3”             *
Pleading Bundles                                   MAG. JUDGE WILKINSON
                                           *


                                  ORDER
   [Directing the Clerk to Close Certain Cases Previously Dismissed for
                 Noncompliance with PTO 60 and PTO 63]

      The Court previously dismissed a large number of cases in this multidistrict

litigation (“MDL”) for failing to comply with Pretrial Order 60 and/or Pretrial Order

63. Although some plaintiffs timely moved for reconsideration of and/or appealed

these dismissals, most did not, and the time for doing so has long passed. However,

as a result of the practical limitations inherent in managing an MDL as large and

complex as this one, many of these cases were not, as a purely technical matter,

closed on the Court’s docket. Accordingly, and as further explained below, this

Order directs the Clerk of Court to close the cases listed on the attached Exhibit A.

      A.     “B1” Pleading Bundle and the PTO 60 Compliance Order

      Early in this multidistrict litigation the Court established eight “pleading

bundles” for different categories of claims. (Pretrial Order 11, Rec. Doc. 569). The

“B1” bundle included claims for non-governmental economic loss and property
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damages by private individuals and businesses, and it was pled pursuant to a B1

Bundle Master Complaint. (Rec. Doc. 879, amended Rec. Doc. 1128).

         On March 29, 2016, the Court issued Pretrial Order 60 (“PTO 60,” Rec. Doc.

16050), which dismissed the B1 Master Complaint and required that all B1

plaintiffs who had timely filed a claim in the B1 bundle and had not released their

claims to file and serve a three-page sworn statement regarding the status of

his/her/its claim. PTO 60 also required that any B1 plaintiff who had previously

filed only a short form joinder and/or were joined in a multi-plaintiff complaint to

file an individual complaint. The deadline to comply with PTO 60 was May 2, 2016,

later extended to May 16, 2016. PTO 60 warned that those who failed to comply

would “face dismissal of their claims with prejudice without further notice.” (PTO

60 at 6, Rec. Doc. 16050).1

         On June 7, 2016, the Court issued an Order to Show Cause Regarding

Compliance with PTO 60 (Rec. Doc. 18724) which identified several thousand

plaintiffs that appeared to have complied with the requirements of PTO 60. Those

who were not deemed compliant with PTO 60 were required to show cause in

writing by June 28, 2016 why their B1 claims should not be dismissed with

prejudice.



    1
      PTO 60 also included additional notice requirements: “Following the issuance of this Order, all counsel of
record should receive a copy via F&S pursuant to Pretrial Order No. 12 (Rec. Doc. 600). This Order will also be
posted on the Court’s website, http://www.laed.uscourts.gov/case-information/mdl-mass-class-action/oilspill.
Counsel for BP shall this Order to all plaintiffs who opted out of the Economic and Property Damages Settlement,
signed their opt-out forms and did not indicate in that form that the plaintiff was represented by counsel . . . . Finally,
to the extent practicable, the PSC shall email a copy of this Order to known counsel of record for Plaintiffs who
joined in the Amended B1 Master Complaint, and/or opted out of the Economic and Property Damages Settlement
and may therefore be subject to this Order.” (PTO 60 at 5, Rec. Doc. 16050).

                                                            2
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        On July 14, 2016, the Court issued an Order Re: Compliance with PTO 60.

(“PTO 60 Compliance Order,” Rec. Doc. 20996). Exhibits 1A and 1B to the PTO 60

Compliance Order identified approximately 1,000 B1 plaintiffs who had complied

with PTO 60 and had not yet resolved their claims against BP.2 These claims were

preserved and subject to further proceedings in this Court. Exhibit 2 to the PTO 60

Compliance Order identified B1 plaintiffs who made timely show cause filings but

as to whom BP still believed were non-compliant with PTO 60. The Court ordered

further briefing on whether the plaintiffs in Exhibit 2 should be deemed compliant

with PTO 60. Finally, the PTO 60 Compliance Order declared:

        All remaining Plaintiffs in the B1 bundle, other than those [identified
        on Exhibits 1A, 1B, or 2] are deemed noncompliant with PTO 60, and
        their B1 claims are hereby DISMISSED WITH PREJUDICE.

        As to all Plaintiffs in the B1 bundle, only those Plaintiffs who have not
        previously released their claims, have made timely presentment as
        required by OPA, have previously filed an individual lawsuit, and have
        otherwise complied with the requirements of PTO 60 have preserved
        their individual claims. All other B1 bundle claims are time-barred.

(PTO 60 Compliance Order at 5, Rec. Doc. 20996 (emphasis in original)).

        On December 16, 2016, the Court ruled on whether the plaintiffs listed in

Exhibit 2 to the PTO 60 Compliance Order had complied with PTO 60. (“PTO 60

Reconciliation Order,” Rec. Doc. 22003).3 The Court deemed some plaintiffs

compliant with PTO 60; their B1 claims were preserved. The Court deemed other

plaintiffs to be non-compliant and dismissed their B1 claims with prejudice.



    2
     Plaintiffs who had settled their claims against BP were omitted from Exhibits 1A and 1B.
    3
      Some of the plaintiffs who had been dismissed by the PTO 60 Compliance Order promptly filed motions for
reconsideration, or to amend, etc. The PTO 60 Reconciliation Order ruled on these motions as well.

                                                     3
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        B.        “B3” Pleading Bundle and the PTO 63 Compliance Order

        The “B3” pleading bundle was another one of the pleading bundles

established in the early days of this MDL. The B3 bundle includes all claims, of any

type, relating to post-explosion clean-up efforts asserted against defendants not

named in the B1 master Complaint, as well as all claims for personal injury and/or

medical monitoring for exposure or other injury occurring after the explosion and

fire of April 20, 2010. (Pretrial Order No. 25, Rec. Doc. 983 at 2). The B3 bundle also

includes contract claims related to the oil spill response.

        On February 22, 2017, the Court issued Pretrial Order No. 63 (“PTO 63”, Rec.

Doc. 22295), which dismissed the Amended B3 Master Complaint and ordered all

plaintiffs who had timely filed a claim in the B3 pleading bundle and had not

released their claims to submit certain documents. Specifically, B3 plaintiffs who

previously filed an individual lawsuit (i.e., a single-plaintiff complaint without class

allegations) were required to complete, file, and serve a sworn statement regarding

the status of their claim. B3 plaintiffs who had not filed an individual lawsuit, but

instead had filed a Short Form Joinder and/or were part of a complaint with more

than one plaintiff, were required to complete, file, and serve an individual lawsuit

and a sworn statement. B3 plaintiffs initially had until April 12, 2017 to comply

with PTO 63. Many sought and received an extension up to May 3, 2017. PTO 63

warned that plaintiffs who failed to comply would “face dismissal of their claims

with prejudice without further notice.” (PTO 63 at 7, Rec. Doc. 22295).4


    4
      PTO 63 also contained special notice provisions similar to those found in PTO 60 and quoted in footnote 1,
supra.

                                                       4
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        On July 18, 2017, the Court issued an Order As to Compliance with Pretrial

Order No. 63. (“PTO 63 Compliance Order,” Rec. Doc. 23047). Exhibit 1 to the PTO

63 Compliance Order identified 960 B3 plaintiffs deemed to be compliant with PTO

63 and whose B3 claims were subject to further proceedings in this Court. Exhibit 2

identified 173 plaintiffs who responded to PTO 63, but whose submission was

materially deficient. The PTO 63 Compliance Order stated that “B3 claims that are

not listed on EXHIBIT 1 are DISMISSED WITH PREJUDICE.” (PTO 63

Compliance Order at 2, Rec. Doc. 23047 (footnote omitted)).

        Some B3 plaintiffs moved for reconsideration of the PTO 63 Compliance

Order. On December 6, 2017, the Court issued an order granting some of those

motions and denying others. (Rec. Doc. 23735)

        C. Closure of Cases Previously Dismissed for Failing to Comply with
           PTO 60 and/or PTO 63

        As explained above, many cases were previously dismissed with prejudice for

failing to comply with PTO 60 and/or PTO 63. To the extent a judgment of dismissal

should have been set out in a separate document for each non-compliant case but

was not, such a judgment was deemed entered 150 days after the entry of the PTO

60 Compliance Order, PTO 60 Reconciliation Order, or the PTO 63 Compliance

Order. See Fed. R. Civ. P. 58(c)(2)(B); Fed. R. App. P. 4 (7)(A)(ii).5 Thus, as to the


    5
      See also Burnley v. City of Antonio, 470 F.3d 189, 195-96 (5th Cir. 2006) (“FRCP 58(a) and
FRAP 4(a)(7)(4), as amended in 2002, are designed to, inter alia, work in conjunction with each other
‘to ensure that appeal time does not linger on indefinitely.’ . . . ‘When FED. R. CIV. P. 58(a)(1) requires
the judgment or order to be set forth on a separate document, that judgment or order is not treated
as entered until it is set forth on a separate document (in addition to being entered in the civil
docket) or until the expiration of 150 days after its entry in the civil docket, whichever
occurs first. This cap will ensure that parties will not be given forever to appeal (or to bring a post
judgment motion) when a court fails to set forth a judgment or order on a separate document in

                                                    5
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B1 cases dismissed by the July 14, 2016 PTO 60 Compliance Order, judgment was

entered on December 11, 2016, if not earlier.6 As to those B1 cases dismissed by the

December 16, 2016 PTO 60 Reconciliation Order, judgment was entered on May 15,

2017, if not earlier. As to those B3 cases (and those cases asserting both B1 and B3

claims) that were dismissed by the July 18, 2017 PTO 63 Compliance Order,

judgment was entered on December 15, 2017, at the latest.7

        While the Court has issued, and occasionally amended, lists identifying what

plaintiffs/cases were compliant with (and thus were not dismissed by) PTO 60

and/or 63, practical limitations have until now prevented the Court from issuing a

comprehensive list identifying which plaintiffs/cases were non-compliant with (and

thus were dismissed by) PTO 60 and/or 63. Consequently, there are hundreds of

cases that, as a purely technical matter, still appear to be “open” on the Court’s

docket, even though, as a legal matter, they were dismissed months or even years

ago.

        In an effort to make the Court’s docket better reflect legal reality, the Court

requested BP to provide the Court with a list of cases that it believes were


violation of Fed. R. Civ. P. 58(a)(1).’” (quoting Advisory Committee Notes for 2002 Amendments to
Fed. R. Civ. P. 58 and Fed. R. App. P. 4) (emphasis added; other emphasis omitted)); Hooks v.
Nationwide Housing Sys., L.L.C., 695 F. App’x 86, 87 (5th Cir. 2017) (“Assuming arguendo that the
district court's Order and Reasons required a separate judgment document, if one was not entered
within 150 days, the judgment is considered to be entered at that time, starting the appellate clock
running.”); In re: Deepwater Horizon (Action Restoration, Inc.), infra.
    6
       Indeed, the Fifth Circuit recently dismissed as untimely appeals from the PTO 60 Compliance Order that were
not filed until November 2017. See In re: Deepwater Horizon (Action Restoration, Inc.), No. 17-30936 (5th Cir.
Apr. 18, 2018), cert. pending, No. 18-95, 2018 WL 3533082 (U.S. July 17, 2018).
    7
       The Court notes that a separate document is not required for, inter alia, orders disposing of Rule 59 and Rule
60 motions. See Fed. R. Civ. P. 58(a). Therefore, as to those plaintiffs who, for example, were dismissed by the
PTO 60 Compliance Order and timely moved to amend or sought reconsideration, judgment was entered on either
December 16, 2016 (the date the Court denied those motions), December 11, 2016 (150 days after the PTO 60
Compliance Order), or July 14, 2016 (the date of the PTO 60 Compliance Order)—the precise date is irrelevant for
present purposes.

                                                         6
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dismissed for failing to comply with PTO 60 and/or PTO 63.8 The Court has

reviewed this list and, after making certain adjustments, finds that the cases listed

on the attached Exhibit A were previously dismissed for failing to comply with PTO

60 and/or PTO 63.9 Accordingly, the Court will instruct the Clerk to mark these

cases identified on Exhibit A as closed.



         WHEREFORE, the attached Exhibit A identifies cases that were previously

dismissed for failing to comply with PTO 60 and/or PTO 63;

         IT IS ORDERED that the Clerk is directed to CLOSE the cases listed

on Exhibit A to this Order.

         Nothing in this Order shall be construed as a judgment under Fed. R. Civ. P.

54 or Fed. R. Civ. P. 58, nor shall this Order be construed as re-opening the time for

seeking post-judgment relief or filing an appeal.

         New Orleans, Louisiana, this 6th day of September, 2018.




                                                               ____________________________________
                                                                     United States District Judge




    8
      BP reports that its list does not include cases that settled and voluntarily dismissed their claims against BP.
    9
      The Court notes that Exhibit A is perhaps not an exhaustive list of every case that was dismissed for failing to
comply with PTO 60 and/or 63. Nothing in this Order will preclude the Court from later determining that a plaintiff
or case omitted from Exhibit A was previously dismissed for failing to comply with PTO 60 and/or PTO 63.

                                                          7
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Cases Previously Dismissed for Non-Compliance with PTO 60 and/or PTO 63 (Clerk to Close Listed Cases)

                                                                                EDLA Case
Row                                 Case Name
                                                                                 Number
1                    Wetzel, Troy, et al. v. Transocean, et al.                 10-01222
2                       Cooper, Acy, et al. v. BP p.l.c., et al.                10-01229
3                      Friloux, James, et al. v. BP p.l.c., et al.              10-01246
4                        Robin, Ben, et al. v. BP p.l.c., et al.                10-01248
5                       Ivic, Michael, et al. v. BP p.l.c., et al.              10-01249
6                           Alexie, Felix v. BP p.l.c., et al.                  10-01250
7                   Bill's Oyster House, et al. v. BP p.l.c., et al.            10-01308
8                     Robin Seafood, et al. v. BP p.l.c., et al.                10-01314
9                     Carrone, Bryan, et al. v. BP p.l.c., et al.               10-01315
10                    Dugas, Eugene, et al. v. BP p.l.c., et al.                10-01322
11                Rodrigue, Brent J., Sr., et al. v. BP p.l.c., et al.          10-01325
12                      T&D Fishery, et al. v. BP p.l.c., et al.                10-01332
13             Fishing Magicians Charters, et al. v. BP p.l.c., et al.          10-01338
14                       Fish Commander v. BP p.l.c., et al.                    10-01339
15                   Cajun Offshore Charter v. BP p.l.c., et al.                10-01341
16                   Kunstler, Joseph, et al. v. BP p.l.c., et al.              10-01345
17                        Creppel, Isadore v. BP p.l.c., et al.                 10-01346
18                      Gregoire, et al. v. Transocean, et al.                  10-01351
19                     Terrebonne, Robroy v. BP p.l.c., et al.                  10-01352
20                      Silver, Curtis, et al. v. BP p.l.c., et al.             10-01387
21                         Parker, Percy v. BP p.l.c., et al.                   10-01411
22         Charlie Thomason's Bayou Charters, et al. v. BP p.l.c.., et al.      10-01422
23      Richard, Calvin J. d/b/a Richard's Seafood Patio v. BP p.l.c., et al.   10-01438
24                 Firehouse Restaurant, et al. v. BP p.l.c., et al.            10-01445
25                 Schmalz, Charles, et al. v. Transocean, et al.               10-01452
26                               HB13 v. BP p.l.c., et al.                      10-01462
27                          Garner, Tom v. BP p.l.c., et al.                    10-01482
28               Schaff, Captain Darren Patrick v. BP p.l.c., et al.            10-01484
29                       Taliancich, Bartol v. BP p.l.c., et al.                10-01489
30                   A Bar & Grill With a Bite, et al. v. BP p.l.c.             10-01499
31                     Elmer, Charles, et al. v. BP p.l.c., et al.              10-01515
32                       Cajun Crab, et al. v. BP p.l.c., et al.                10-01516
33                    Duet, Raymond, et al. v. BP p.l.c., et al.                10-01519
34                     Gautreaux, Laura P. v. BP p.l.c., et al.                 10-01539
35                    St. Ann Lodging, et al. v. BP p.l.c., et al.              10-01571
36                    Derouen, Uwell, et al. v. BP p.l.c., et al.               10-01573
37           P & S Restaurant Group, Louisiana, LLC v. BP p.l.c., et al.        10-01574
38                      Stevenson, Tammy v. BP p.l.c., et al.                   10-01611
39                   Brondum, Richard, et al. v. BP p.l.c., et al.              10-01613
40                         Dinet, Nicholas v. BP p.l.c., et al.                 10-01615
41                        Phillips, John v. BP America, et al.                  10-01620


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42                Bohica Fishing Charters, et al. v. BP p.l.c., et al.         10-01721
43                        Danzig, Joshua v. BP p.l.c., et al.                  10-01726
44                      Nguyen, Kha, et al. v. BP p.l.c., et al.               10-01741
45                    Decatur Hotels, , et al. v. BP p.l.c., et al.            10-01767
46                       Oser, Joe v. Transocean, Ltd., et al.                 10-01829
47                       Kansas, Jacob v. Transocean, et al.                   10-01836
48                       Bayona Corp. v. Transocean, et al.                    10-01839
49                        Verdin, Cherry v. BP p.l.c., et al.                  10-01841
50                          Verdin, Irene v. BP p.l.c., et. al                 10-01842
51                     Nguyen, Sang-Thanh v. BP p.l.c., et al.                 10-01850
52                        Nguyen, Giang v. BP p.l.c., et al.                   10-01852
53                        Nguyen, Giau V. v. BP p.l.c., et al.                 10-01855
54                    Ascension Marine, Inc. v. BP p.l.c., et al.              10-01857
55                 Frischhertz, James, et al. v. Halliburton, et al.           10-01908
56                      Ezell, Johnnie, et al. v. BP p.l.c., et al.            10-01920
57              Copeland's of New Orleans, et al. v. BP p.l.c., et al.         10-01926
58                  Harmon, Jarvis J. Sr., et al. v. BP p.l.c., et al.         10-01931
        Revenue Properties Southland Limited Partnership v. BP p.l.c., et
59                                                                             10-01947
                                           al.
60                American Gulf Seafood, et al. v. BP p.l.c., et al.           10-01970
61                          Harris, Steve v. BP p.l.c., et al.                 10-02078
62                          Bang, Bruce v. BP p.l.c., et al.                   10-02097
         Inter-Tour Louisiane, Inc. d/b/a Tours by Isabelle v. Transocean
63                                                                             10-02103
                                       Ltd., et al.
64                         Le, Tam, et al. v. BP p.l.c., et al.                10-02114
65                   Mason, James, et al. v. Transocean, et al.                10-02639
66                      Burke, Peter, et al. v. BP Corp., et al.               10-02640
67                    Trahan, Shannon, et al. v. BP p.l.c., et al.             10-02641
68                       Smith, Jud, et al. v. BP p.l.c., et al.               10-02642
69                  Wilkerson, Billy, et al. v. Transocean, et al.             10-02643
70                 Fishtrap Charters, et al. v. Transocean, et al.             10-02644
             Fort Morgan Sales Rentals & Development Inc., et al. v.
71                                                                             10-02645
                           Transocean Holdings Inc., et al.
72                 Bon Secour Fisheries, et al. v. BP p.l.c., et al.           10-02646
73                     Simpson, George v. Transocean, et al.                   10-02647
74          Gulf Shores West Beach Investments, et al. v. Transocean           10-02648
75                      Billy's Seafood v. Transocean, et al.                  10-02649
76                      Meyer, David, et al. v. BP p.l.c., et al.              10-02650
77               Orange Beach Marina, et al. v. Transocean, et al.             10-02651
78                   Hopkins, Fran, et al. v. Transocean, et al.               10-02653
        Original Oyster House, Inc., et al. v. Transocean Holdings, Inc., et
79                                                                             10-02655
                                           al.
80                 Blue Water Yacht, et al. v. Transocean, et al.              10-02656
81                    Marine Horizons, et al. v. BP p.l.c., et al.             10-02657


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 82    Lockridge, Edward v. BP plc, et al                                      10-02659
 83                 Drawdy, Terry, et al. v. Transocean, et al.                10-02660
 84                Sea Eagle Fisheries, et al. v. BP p.l.c., et al.            10-02661
 85                  Harris, John, et al. v. Transocean, et al.                10-02662
 86                  Ocean Reef Realty v. Transocean, et al.                   10-02663
 87                   Salley, Michael v. Transocean, et al.                    10-02664
 88                Harris, Nicholas, et al. v. Transocean, et al.              10-02665
 89               Douglass, Charles, et al. v. Transocean, et al.              10-02666
 90               Joe Patti Seafood, et al. v. Transocean, et al.              10-02667
 91                  Destin, Dewey, et al. v. BP p.l.c., et al.                10-02668
 92                   Ward, George, et al. v. BP p.l.c., et al.                10-02670
 93               Water Street Seafood, et al. v. BP p.l.c., et al.            10-02671
 94                Schouest, Ellis, et al. v. BP Products, et al.              10-02673
 95                Hopper, Paul, et al. v. Cameron Int'l, et al.               10-02674
 96                    Cajun Maid, et al. v. BP p.l.c., et al.                 10-02675
 97       Trieu, Hiep, et al. v. BP Exploration & Production Inc., et al.      10-02676
 98                  Sevel, Michael, et al. v. BP p.l.c., et al.               10-02677
 99                     Staley, Jessica v. Cameron, et al.                     10-02678
100               Daniels, Ronnie v. Cameron Int'l Corp., et al.               10-02679
101       Stacey Van Duyn, et al. v. Cameron International Corp., et al.       10-02680
102              Grieshaber, Aleen, et al. v. BP Products, et al.              10-02681
103            Mandina's of New Orleans, et al. v. BP p.l.c., et al.           10-02712
104                 Mandina, Tommy, et al. v. BP p.l.c., et al.                10-02713
105                  Galliano, Carol, et al. v. BP p.l.c., et al.              10-02715
106                      Manint, Alfred v. BP p.l.c., et al.                   10-02716
107                  Do, Henry Phuc, et al. v. BP p.l.c., et al.               10-02750
108                    Loupe, Faye, et al. v. BP p.l.c., et al.                10-02764
109                     Avocato, Russell v. BP p.l.c., et al.                  10-02770
          Winnie's Artsy Cafe, L.L.C. d/b/a Mahony's Po-Boy Shop v. BP
110                                                                            10-02820
                                    p.l.c., et al.
111                  CJK Fab & Consulting v. BP p.l.c., et al.                 10-02839
112      JRKW Enterprises, LLC, d/b/a Huck Finn's Cafe v. BP p.l.c., et al.    10-02846
113                        Marks, Antolin v. BP, et al.                        10-02975
114                     Moret, Drew v. Transocean, et al.                      10-02977
115                    Alfano, Adam v. Transocean, et al.                      10-02981
116                    Donnell, John v. Transocean, et al.                     10-02982
117                    Parker, Darrick v. Transocean, et al.                   10-02983
118                    Davis, Susan, et al. v. BP p.l.c., et al.               10-02984
119        Professional Bars, Inc. d/b/a Brass Monkey v. BP p.l.c., et al.     10-02985
120                 Vacation Key West, et al. v. BP p.l.c., et al.             10-02986
121                 Schorr, Christopher, et al. v. BP p.l.c., et al.           10-02989


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Cases Previously Dismissed for Non-Compliance with PTO 60 and/or PTO 63 (Clerk to Close Listed Cases)

122                          Gay, Joe v. Transocean, et al.                    10-02990
123                   Bennett, Patricia, et al. v. BP p.l.c., et al.           10-02991
124                    O'Bryan, Larry, et al. v. BP p.l.c., et al.             10-02992
125                          1st Rate, LLC v. BP p.l.c., et al.                10-02993
126                    Buras, Howard, et al. v. BP p.l.c.., et al.             10-02994
127                    St. Romain, Ivy, et al. v. BP p.l.c., et al.            10-02995
128                    Faris, John, et al. v. Transocean, et al.               10-02998
129               Bones & Campbell Enterprises v. BP p.l.c., et al.            10-03068
130                            Narcosis v. BP p.l.c., et al.                   10-03077
131                   Gold Fingers Jewelers v. BP p.l.c., et al.               10-03079
132                  Gionis, Athanasios, et al. v. BP p.l.c., et al.           10-03080
133                    Galaris, James, et al. v. BP p.l.c., et al.             10-03081
         J.J.S. Properties, Inc., d/b/a Post Corner Pizza Restaurant v. BP
134                                                                            10-03082
                                       p.l.c., et al.
135                  Coratella, Vincent, et al. v. BP p.l.c., et al.           10-03083
136                         Fago, Thomas v. BP p.l.c., et al.                  10-03084
137                   Murphy, Thomas, et al. v. BP p.l.c., et al.              10-03085
138                   Kilgore Realty, LLC v. Transocean, et al.                10-03086
139                     Creech, Dacien v. Transocean, et al.                   10-03087
140                 Destin Fishing Fleet, et al. v. BP p.l.c., et al.          10-03088
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